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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 CHRISTIAAN H. HIGHSMITH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00330-GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   GUO MA,                                             DATE: May 15, 2015
                                                         TIME: 9:00 a.m.
15                                Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on May 15, 2015.

21          2.      By this stipulation, defendant now moves to continue the status conference until June 12,

22 2015, and to exclude time between May 15, 2015, and June 12, 2015, under Local Code T4.

23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a)     The government has represented that the discovery associated with this case

25          includes more than 365 pages of discovery and approximately eight DVDs video. All of this

26          discovery has been either produced directly to counsel and/or made available for inspection and

27          copying.

28                  b)     Counsel for defendant desires additional time to review discovery, consult with


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 1          her client, review the current charges, and to discuss potential resolutions with her client.

 2                  c)     Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                  d)     The government does not object to the continuance.

 6                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of May 15, 2015 to June 12, 2015,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
     Dated: May 13, 2015                                      BENJAMIN B. WAGNER
21                                                            United States Attorney
22
                                                              /s/ CHRISTIAAN H.
23                                                            HIGHSMITH
                                                              CHRISTIAAN H. HIGHSMITH
24                                                            Assistant United States Attorney
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26 Dated: May 13, 2015                                        /s/ LINDA PARISI
                                                              LINDA PARISI
27
                                                              Counsel for Defendant
28                                                            GUO MA


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 3                              [PROPOSED] FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED.

 5 Dated: May 14, 2015

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     STIPULATION REGARDING EXCLUDABLE TIME    3
30   PERIODS UNDER SPEEDY TRIAL ACT
